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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 CODE REVISION COMMISSION on
 behalf of and for the benefit of THE
 GENERAL ASSEMBLY OF
 GEORGIA, and THE STATE OF
 GEORGIA,
              Plaintiff,                          CIVIL ACTION NO.
       v.                                         1:15-CV-2594-RWS
 PUBLIC.RESOURCE.ORG, INC.

              Defendant.



            [PROPOSED] PERMANENT INJUNCTION ORDER
      The Court, having entered an Order on March 23, 2017 granting Plaintiff’s

Motion for Partial Summary Judgment, with respect to Plaintiff’s works that were

registered with the United States Copyright Office at the time of briefing, hereby

issues the following injunctive relief:

      Defendant is permanently enjoined from all unauthorized use, including

through reproduction, display, distribution, or creation of derivative works, of the

Official Code of Georgia Annotated (O.C.G.A.). Defendant is FURTHER

ORDERED to remove all versions of the O.C.G.A. from its website and any other

website within its possession, custody, or control within seven days, wherein

“remove” means deletion from the website and wherein merely making the


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O.C.G.A. versions inaccessible does not amount to a removal of said versions.

Defendant may continue to use, in relation to its court submissions, excerpts from

versions for the O.C.G.A. that were filed by either party as exhibits to, or quoted

in, documents filed with the Court through the ECF system and presently available

on the PACER system, and which are part of the record in this case,. Defendant is

FURTHER ORDERED to remove all fundraising solicitations for the Defendant’s

unauthorized use, including through reproduction, display, distribution, or creation

of derivative works, of the O.C.G.A. from its website and any other website within

its possession, custody, or control within seven days.




IT IS SO ORDERED, this _____ day of _______________________, 2017.




                                 _________________________________


                                 UNITED STATES DISTRICT JUDGE
                                 NORTHERN DISTRICT OF GEORGIA




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